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                                                                                      EXHIBIT P-3




                                                              THE WILLIAMS COMPANIES, INC.
                                                                               One Williams Center, Suite 4200
                                                                                         Tulsa, Oklahoma 74172
                                                                                     Telephone: (918) 728-5976
                                                                            E-Mail:Scott.Graybilll@williams.com

November 1, 2021



24 Hour RT-PCR Covid Laboratory
Attn: Ebad Khan
22751 Professional Drive
Kingwood, Texas 77339



Dear Mr. Khan:

We have received the demand letter from Diagnostic Affiliates of Northeast HOU, LLC, d.b.a. 24 Hour RT-
PCR Covid Laboratory (“24 Hour Covid”) with respect to payment of COVID-19 diagnostic testing claims
by The Williams Companies, Inc. Group Medical-Health Plus Plan for Full-Time Employees, The Williams
Companies, Inc. Group Medical-Health Plus Plan for Part-Time Employees, and The Williams Companies,
Inc. Retiree Medical Plan (collectively, the “Plans”).

After independently investigating the claims made in the aforementioned-demand letter, the Plans
agree that the Families First Coronavirus Response Act, as amended, (the “FFCRA”) requires health plans
to provide coverage without any cost sharing (including deductibles, copayments, and coinsurance)
requirements or prior authorization or other medical management requirements, COVID-19 testing for
diagnostic and treatment purposes (“COVID diagnostic tests”) furnished during any portion of the
emergency period defined in 42 U.S.C. 1320b–5(g)(1)(B) beginning on or after the date of the enactment
of this FFCRA (the “Emergency Period”). The Plans further agree the Coronavirus Aid, Relief, and
Economic Security Act (the “CARES Act”) requires that the reimbursement rate for COVID diagnostic
tests furnished during the Emergency Period by non-network providers, such as 24 Hour Covid be either
(i) an amount that equals the cash price for such service as listed by the provider on a public internet
website or (ii) a rate such plan or issuer may negotiate with such provider for less than such cash price.
UnitedHealthcare (“UHC”) is the Plans’ third-party administrator and processes the Plans’ medical
claims. The Plans did not have a negotiated rate with 24 Hour Covid for COVID diagnostic tests. In
processing COVID diagnostic testing claims submitted by 24 Hour Covid to the Plans. UHC failed to
consistently reimburse 24 Hour Covid the cash price for such Covid diagnostic tests as listed by 24 Hour
Covid on its public internet website.

To resolve this issue, the Plans have entered into a settlement agreement (the “Settlement Agreement”)
with 24 Hour Covid to settle existing claims and negotiate a rate applicable to future COVID diagnostic
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tests subject to the CARES Act. We have requested that UHC process all COVID diagnostic tests in
accordance with the Settlement Agreement and the CARES Act.

Please maintain this letter for your records. Additionally, 24 Hour Covid has the Plans’ consent to
reference or utilize this letter in the administrative claims and appeals process or to address any
continued claims disputes relating to Covid diagnostic tests. Please bring any continued claims disputes
under the Plans to our attention, and we are happy to work with UHC to resolve them.

Thank you for working with us to resolve these issues.



                                                         Sincerely,




                                                         Scott Graybill
                                                         Director, Compensation and Benefits
